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JAMES WYDA
FEDERAL PUBLIC DEFENDER

                                                                              January 10, 2024

Via CM/ECF
Hon. Lydia Kay Griggsby
U.S. District Judge
U.S. District Court for the District of Maryland
101 West Lombard Street
Baltimore, MD 21201

          Re: United States v. Marilyn Mosby, No. 22-cr-007-LKG

Dear Judge Griggsby,

        We write in response to the Court’s request to file any changes to the joint proposed voir
dire by noon on January 10, 2024. The parties filed joint proposed voir dire on December 29, 2023.
See ECF 381. Ms. Mosby requests the following additional questions be asked during voir dire:

     (1) Have you read, seen, or heard about any recent trials – civil or criminal – involving Ms.
         Mosby?

          Ms. Mosby requests that this question be included as a separate question after proposed
          Question 7 in the “Knowledge Of Case/Parties/Other Matters” section.

     (2) Do you have any negative opinions or feelings about someone withdrawing money from a
         retirement account (e.g., 401k, 457(b)) to pay for second and third homes?

          Ms. Mosby requests that this question be included as a separate question after proposed
          Question 37 in the “Victim/Witness of Crime/Moral And Philosophical Objections”
          section.

     (3) Assume one of the witnesses called by the Defense had been convicted for perjury. Would
         the perjury conviction make you unable to consider the rest of the witness’ testimony?

          Ms. Mosby requests that this question be included as a separate question after proposed
          Question 38 in the “Victim/Witness of Crime/Moral And Philosophical Objections”
          section.
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      The Government objects to these requested additional questions.
      .
                                                 Respectfully submitted,

                                                 /s/
                                                 James Wyda
                                                 Federal Public Defender

Cc:   AUSA Sean Delaney (by ECF)
      AUSA Aaron Zelinsky (by ECF)
